             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    CHARLOTTE DIVISION
             CRIMINAL CASE NO. 3:07-cr-00211-MR-2


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )             ORDER
                                 )
                                 )
VICTORIA L. SPROUSE,             )
                                 )
                   Defendant.    )
________________________________ )


     THIS MATTER is before the Court on the parties’ Joint Motion to

Amend Judgment Pursuant to Fed. R. Crim. P. 36. [Doc. 532].

     The parties move the Court for an Order clarifying that the Court’s

intention was to vacate the prior judgment imposed upon the Defendant and

to impose a new judgment included a 30-month sentence, with full credit for

the time she had previously served. Upon consideration of the parties’

motion, and for cause shown,

     IT IS, THEREFORE, ORDERED that the parties’ Joint Motion to

Amend Judgment Pursuant to Fed. R. Crim. P. 36 [Doc. 532] is GRANTED,

and the Judgment [Doc. 526] previously entered in this matter shall be

amended to reflect the Court’s intent that the Defendant’s prior judgment be


   Case 3:07-cr-00211-MR-DCK    Document 533   Filed 09/15/16   Page 1 of 2
vacated; that the new judgment imposed requires her to serve only an

aggregate sentence of 30 months; and that the 30-month sentence imposed

in this case would not result in the Defendant serving additional time beyond

this 30-month sentence.

     IT IS SO ORDERED.
                               Signed: September 15, 2016




                                    2



   Case 3:07-cr-00211-MR-DCK    Document 533         Filed 09/15/16   Page 2 of 2
